    Case 2:21-cv-06464-MWF-KS Document 16 Filed 10/08/21 Page 1 of 1 Page ID #:51




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     2:21-cv-06464-MWF-KS                                         Dated: October 8, 2021

Title:       Maria Salazar v. PRA Receivables Management, LLC et al

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                   None Present
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                  None Present

PROCEEDINGS (IN CHAMBERS):                    COURT ORDER

      In light of the Notice of Settlement filed October 7, 2021, the Court sets a hearing on
Order To Show Cause Re Dismissal for December 13, 2021 at 11:30 a.m. If a stipulated
dismissal is filed prior to this date, the matter will be taken off calendar and no appearance is
needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




MINUTES FORM 90                                                  Initials of Deputy Clerk    rs
CIVIL - GEN
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